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                    10                                  UNITED STATES BANKRUPTCY COURT
                                                           FOR THE DISTRICT OF NEVADA
                    11
                            In re:                                                     Case No.: BK-S-18-14683-leb
                    12
                                                                                       Chapter 11
                            GUMP’S HOLDINGS, LLC,
                    13
                                              Debtor.                                  Joint administration requested
                    14
                                                                                       Hearing Date: N/A
                    15                                                                 Hearing Time: N/A
                    16
                                                   EX PARTE APPLICATION FOR ORDER SHORTENING
                    17                                   TIME TO HEAR FIRST DAY MOTIONS

                    18               Gump’s Holdings, LLC, Gump’s Corp., and Gump’s By Mail, Inc. (collectively,
                    19      “Debtors”),1 debtors and debtors-in-possession, hereby respectfully submit this ex parte
                    20      application (the “Application”) seeking entry of an order shortening time, substantially in form
                    21      attached hereto as Exhibit 1, to hear the following motions filed by Debtors on August 8, 2018:
                    22               (i)      Motion for Order Authorizing Maintenance of Prepetition Cash
                                              Management System and Bank Accounts; and Granting Related Relief (the
                    23                        “Bank Accounts Motion”);
                    24
                                     (ii)     Motion for Order (A) Approving Agency Agreement, (B) Authorizing and
                    25                        Approving Store Closing Sale Free and Clear of All Liens, Claims, and
                                              Encumbrances, (C) Granting Liens, and (D) Granting Related Relief (the
                    26
                    27      1
                             Contemporaneously herewith, each Debtor has filed an application for an order jointly-administering the Chapter
                            11 cases, with the Holdings case as the lead case.
                    28
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                      1                         “Agency Agreement Motion”); and

                      2                (iii)    Emergency Motion for Interim and Final Orders (A) Authorizing the
                                                Debtors to Obtain Limited Post-Petition Financing, (B) Granting Liens
                      3
                                                and Providing Administrative Expense Status, (C) Authorizing the
                      4                         Debtors’ Limited Use of Cash Collateral, (D) Granting Adequate
                                                Protection, (E) Modifying the Automatic Stay, and (F) Granting Related
                      5                         Relief (the “Financing Motion”).

                      6     (collectively, the “First Day Motions”).
                      7                Debtors respectfully request that the First Day Motions be heard on shortened time on
                      8     August 9, 2018.
                      9                Debtors anticipate that the hearing on the First Day Motions will last approximately two
                    10      (2) hours and thirty (30) minutes.
                    11                 This Application for order shortening time to hear the First Day Motions is made and
                    12      based upon Bankruptcy Rule 9006, the following Memorandum of Points and Authorities, the
                    13      omnibus declaration of Tony Lopez in support of the Chapter 11 petitions, first days, and other
                    14      relief (the “First Day Decl.”)2 filed concurrently herewith and the declaration of Mark M.
                    15      Weisenmiller, Esq. (the “Weisenmiller Declaration”) set for the below, the Attorney Information
                    16      Sheet filed contemporaneously herewith, and the papers and pleading on file herein, judicial
                    17      notice of which is respectfully requested.
                    18                              MEMORANDUM OF POINTS AND AUTHORITIES
                                                                     I.
                    19                             DECLARATION OF MARK M. WEISENMILLER, ESQ.
                    20                 I, Mark M. Weisenmiller, Esq., declare, under penalty of perjury under the law of the
                    21      State of Nevada and the United States of America, as follows:
                    22                 1.       I am over the age of 18 and am mentally competent.
                    23                 2.       I am an attorney at Garman Turner Gordon LLP (“GTG”), proposed counsel for
                    24      Debtors in the Chapter 11 Cases. As such, I have personal knowledge of the facts stated in this
                    25      Declaration, except where stated upon information and belief, and as to facts stated upon
                    26      information and belief, I am informed of those facts and believe them to be true. If called upon
                    27
                            2
                    28          Capitalized undefined terms used herein shall be ascribed the definitions set forth in the First Day Declaration.

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                      1     to testify as to the matters herein, I could and would do so.

                      2              3.       In the First Day Motions, Debtors request interim and/or final orders approving

                      3     and authorizing: (i) maintenance of Debtors’ prepetition cash management system and bank

                      4     accounts; (ii) assumption of the Agency Agreement and the store closing sale free and clear of all

                      5     liens, claims, and encumbrances; and (iii) Debtors to obtain postpetition financing, grant liens

                      6     and provide administrative expense status, Debtors’ use of cash collateral, adequate protection,

                      7     and other related relief.

                      8              4.       Debtors are requesting that the First Day Motion be heard on shortened time and

                      9     on an emergency basis as necessary to keep the agreement of Debtors, the Agent and Sterling

                    10      together, to stabilize Debtors operations, to allow for a successful Chapter 11 liquidation and

                    11      otherwise avoid irreparable harm. The First Day Motions present various typical emergency

                    12      relief that Chapter 11 debtors like Debtors require at the outset of a Chapter 11 bankruptcy case,

                    13      including but not limited to the following: (a) the use of prepetition cash management systems

                    14      and bank accounts, (b) the approval of postpetition financing, and (f) the use of cash collateral

                    15      subject to an agreed budget.

                    16               5.       Absent immediate access to cash collateral and debtor-in-possession financing

                    17      and the assumption of the Agency Agreement, Debtors will lack sufficient liquidity to continue

                    18      operations, stabilize their operations, and the company will likely be forced to cease operations,

                    19      thereby eliminating any chance they may have for a successful Chapter 11 liquidation and

                    20      resulting in immediate and irreparable harm to Debtors and their estates.

                    21               6.       If Debtors do not remain operating during the pendency of these proceedings,

                    22      Debtors’ assets and goodwill will decrease substantially in value and Debtors will run the risk of

                    23      losing existing and prospective customers.

                    24               7.       Furthermore, if the prepetition cash management system or bank accounts are

                    25      disrupted, Debtors will experience immediate and irreparable harm. At a minimum, substantial

                    26      disruptions to Debtors’ business would occur by, among other things, delaying collection and

                    27      disbursement of the payments to vendors, employees, and customers. This would in turn harm

                    28      stakeholder confidence, thus disrupting mutually beneficial relationships with trade creditors,
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                      1     customers, and employees, among others. Such a negative impact on Debtors’ operations would

                      2     hinder a successful reorganization.

                      3              8.       If the First Day Motions are not heard on August 9, 2018, the deal between

                      4     Debtors, the Agent and Sterling is likely to fall apart.

                      5              9.       Thus, good cause exists to hear the First Day Motions on shortened time on

                      6     August 9, 2018.

                      7              DATED this 8th day of August 2018.

                      8
                                                                                   By: /s/ Mark M. Weisenmiller
                      9                                                               MARK M. WEISENMILLER, ESQ.
                    10                                                   II.
                                                                   LEGAL ARGUMENT
                    11
                                     Section 105 allows this Court to issue such orders as are necessary to carry out the
                    12
                            provisions of this title. See 11 U.S.C. § 105. Bankruptcy Rule 9006(c)(1) generally permits a
                    13
                            bankruptcy court, for cause shown and in its discretion, to reduce the period during which any
                    14
                            notice is given in accordance with the Bankruptcy Rules.           In particular, Bankruptcy Rule
                    15
                            9006(c)(1) provides as follows:
                    16
                                              [e]xcept as provided in paragraph (2) of this subdivision, when an act is
                    17                        required or allowed to be done at or within a specified time by these rules
                    18                        or by a notice given thereunder or by order of court, the court for cause
                                              shown may in its discretion with or without motion or notice order the
                    19                        period reduced.

                    20      FED. R. BANKR. P. 9006(c)(1).

                    21               Local Rule 9006 provides further authority for shortening the time for a hearing.

                    22      According to Local Rule 9006(b), every motion for an order shortening time must be

                    23      accompanied by an affidavit stating the reasons for an expedited hearing. As set forth in the

                    24      Weisenmiller Declaration, there are compelling reasons for an expedited hearing on the First Day

                    25      Motions. As such, good cause exists to hear the First Day Motions on shortened time on August

                    26      9, 2018.

                    27               Local Rule 9006 also requires the moving party to submit an Attorney Information Sheet

                    28      indicating whether opposing counsel was provided with notice, whether opposing counsel
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                      1     consented to the hearing on an order shortening time, the date counsel was provided with notice,

                      2     and how notice was provided or attempted to be provided. An Attorney Information Sheet was

                      3     filed contemporaneously with this Application.

                      4                                                III.
                                                                    CONCLUSION
                      5
                                     WHEREFORE, Debtors respectfully request that the Court grant this Ex Parte
                      6
                            Application and issue an order shortening time to hear the First Day Motions on August 9, 2018.
                      7
                            Debtors request such other and further relief as the Court deems just and proper.
                      8
                                     DATED: August 8, 2018.
                      9
                                                                         GARMAN TURNER GORDON LLP
                    10

                    11                                                   By: /s/ Mark M. Weisenmiller
                    12                                                       WILLIAM M. NOALL
                                                                             GABRIELLE A. HAMM
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                                                                             [Proposed] Attorneys for Debtor
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           EXHIBIT 1




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                      16     [Proposed] Attorneys for Debtor

                      17                                 UNITED STATES BANKRUPTCY COURT

                      18                                   FOR THE DISTRICT OF NEVADA
                      19     In re:                                               Case No.: BK-S-18-14683-leb
                                                                                  Chapter 11
                      20     GUMP’S HOLDINGS, LLC,
                                               Debtor.                            Joint administration requested
                      21

                      22                                                          Hearing Date:
                                                                                  Hearing Time:
                      23

                      24
                                                    NOTICE OF HEARING AND ORDER SHORTENING
                      25                                TIME TO HEAR FIRST DAY MOTIONS

                      26              On August 8, 2018, Gump’s Holdings, LLC, Gump’s Corp., and Gump’s By Mail, Inc.

                      27     (collectively, “Debtors”), debtors and debtors-in-possession, filed the following motions:

                      28              (i)      Motion for Order Authorizing Maintenance of Prepetition Cash
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  Las Vegas, NV 89119
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                        1                      Management System and Bank Accounts; and Granting Related Relief (the
                                               “Accounts Motion”);
                        2
                                      (ii)     Motion for Order (A) Approving Agency Agreement, (B) Authorizing and
                        3
                                               Approving Store Closing Sale Free and Clear of All Liens, Claims, and
                        4                      Encumbrances, (C) Granting Liens, and (D) Granting Related Relief (the
                                               “Agency Agreement Motion”); and
                        5
                                      (iii)    Emergency Motion for Interim and Final Orders (A) Authorizing the
                        6                      Debtors to Obtain Limited Post-Petition Financing, (B) Granting Liens
                                               and Providing Administrative Expense Status, (C) Authorizing the
                        7
                                               Debtors’ Limited Use of Cash Collateral, (D) Granting Adequate
                        8                      Protection, (E) Modifying the Automatic Stay, and (F) Granting Related
                                               Relief (the “Financing Motion”).
                        9
                             (collectively, the “First Day Motions”).
                      10
                                      In the First Day Motions, Debtors request interim and/or final orders approving and
                      11
                             authorizing: (i) maintenance of Debtors’ prepetition cash management system and bank
                      12
                             accounts; (ii) assumption of the Agency Agreement and the store closing sale free and clear of all
                      13
                             liens, claims, and encumbrances; and (iii) Debtors to obtain postpetition financing, grant liens
                      14
                             and provide administrative expense status, Debtors’ use of cash collateral, adequate protection,
                      15
                             and other related relief.
                      16
                                      The Court, having considered the Ex Parte Application for Order Shortening Time to
                      17
                             Hear First Day Motions, and good cause appearing therefore,
                      18
                                      IT IS HEREBY ORDERED and notice is hereby given that the First Day Motions shall
                      19
                             be heard by a United States Bankruptcy Judge on the                 day of
                      20
                                      , 2018, at         .
                      21
                                      A copy of the above-referenced First Day Motions and any supporting declarations and
                      22
                             exhibits are available free of charge at www.donlinrecano.com/gumps, on file with the clerk of
                      23
                             the United States Bankruptcy Court for the District of Nevada, Foley Federal Building and U.S.
                      24
                             Courthouse, 300 S. Las Vegas Blvd, Las Vegas, NV 89101, or may be obtained by emailing
                      25
                             Mark M. Weisenmiller, Esq. at the address listed above.
                      26
                                      IT IS HEREBY FURTHER ORDERED that service of this Order Shortening Time
                      27
                             shall be served within ___ days of entry; that any oppositions to the First Day Motions must be
                      28
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                        1    ______                              ; that replies to any oppositions filed must be filed and

                        2    served by                           ; and that this hearing may be continued from time to time

                        3    without further notice except for the announcement of any adjourned dates and times at the

                        4    above noticed hearing or any adjournment thereof.

                        5             IT IS SO ORDERED.

                        6    PREPARED AND SUBMITTED:

                        7    GARMAN TURNER GORDON LLP

                        8
                             By: /s/ Mark M. Weisenmiller
                        9        WILLIAM M. NOALL, ESQ.
                                 GABRIELLE A. HAMM, ESQ.
                      10         MARK M. WEISENMILLER, ESQ.
                                 Attorneys for Debtor
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